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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              TEXARKANA DIVISION

  UNITED STATES OF AMERICA                     §
                                               §
  V.                                           §              No. 5:21-CR-
                                               §           JUDGE SCHROEDER
  SAMUEL MORGAN YATES                          §
                                       INDICTMENT

  THE GRAND JURYCHARGES:
                                                                         FILED
                                    General Allegations
                                                                           JAN 1 4 2021
        At all times relevant to this Indictment:
                                                                     CLERK, U.S. DISTRICT COURT
  The Defendant and Related Entities EASTERN DISTRICT OF TEXAS

        1. Defendant Samuel Mor an Yates was a resident of Maud, Texas, in the

 Eastern District of Texas.


        2. Lone Star Tuning was a sole proprietorship located in Maud, Texas.


 Defendant Samuel Morgan Yates was the 100% owner of Lone Star Tuning, and its

 business address was located at his residence. Lone Star Tuning had no operations prior to

 January 2020 and generated no revenue.


        3. Defendant Samuel Morgan Yates maintained a bank account in his name at

 Credit Union 1, a federally insured financial institution located in Texarkana, Texas, in the

 Eastern District of Texas.

 The Small B siness Administration

       4. The United States Small Business Administration ( SBA ) was an executive-

 branch agency of the United States govermnent that provided support to entrepreneurs and
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  small businesses. The mission of the SB A was to maintain and strengthen the nation s

  economy by enabling the establishment and viability of small businesses and by assisting

  in the economic recovery of communities after disasters.


         5. As part of this effort, the SB A enabled and provided for loans through banks,

  credit unions, and other lenders. These loans had govermnent-backed guarantees.


  The Paycheck Protection Program

         6. The Coronavirus Aid, Relief, and Economic Security ( CARES ) Act was a

  federal law enacted in March 2020 and designed to provide emergency financial assistance

  to the millions of Americans who are suffering the economic effects caused by the COVID-

  19 pandemic. One source of relief provided by the CARES Act was the authorization of

  forgivable loans to small businesses for job retention and certain other expenses, through

  a program referred to as the Paycheck Protection Program ( PPP ).

         7. To obtain a PPP loan, a qualifying business was required to submit a PPP

  loan application, which was signed by an authorized representative of the business. The

 PPP loan application required the business (through its authorized representative) to

  acknowledge the program rules and make certain affirmative certifications in order to be

 eligible to obtain the PPP loan. In the PPP loan application (SBA Form 2483), the small

 business (through its authorized representative) was required to state, among other things,

 its: (a) average monthly payroll expenses; and (b) number of employees. These figures

 were used to calculate the amount of money the small business is eligible to receive under

 the PPP. In addition, businesses applying for a PPP loan were required to provide

 documentation showing their payroll expenses.



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         8. A PPP loan application was processed by a participating lender. If a PPP loan

  application was approved, the participating lender f nded the PPP loan using its own

  monies, which were guaranteed by the SBA. Data from the application, including

  infonuation about the borrower, the total amount of the loan, and the listed number of

  employees, was transmitted by the lender to the SBA in the course of processing the loan.

         9. PPP loan proceeds were required to be used on certain permissible expenses,


  including payroll costs, mortgage interest, rent, and utilities. Under the applicable PPP

  rules and guidance, the interest and principal on the PPP loan is eligible for forgiveness if

  the business spent the loan proceeds on these expense items within a designated period of

  time and used a certain portion of the loan towards payroll expenses.


 Relevant Lenders

         10. Lender 1 was a publicly traded real estate investment trust (REIT) that

  specialized in non-bank real estate and small-business lending. Lender 1 was based in New


  York, New York. Lender 1 participated in the SBA s PPP as a lender and, as such, was

  authorized to lend funds to eligible borrowers under the terms of the PPP.

         11. Lender 2 was a federally insured financial institution and a member of the

  Federal Home Loan system based in Salt Lake City, Utah. Lender 2 participated in the

  SBA s PPP as a lender, and, as such, was authorized to lend funds to eligible borrowers

  under the terms of the PPP.

         12. Company 1 was a publicly traded company that processed credit card

 payments, provided retail point-of-sale payment platforms, and offered small-business


  lending. Company 1 was based in San Francisco, California. Company 1 participated in


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  the SBA s PPP by, among other things, acting as a service provider between small

  businesses and certain banks, including Lender 2. Small businesses seeking PPP loans

  could apply through Company 1 for PPP loans. Company 1 would review the loan

  applications. If a loan application received by Company 1 was approved for funding, a

  partner bank, such as Lender 2, disbursed the loan funds to the applicant.

                                          The Scheme to Defraud

          13. Beginning in or around April 2020, and continuing until in or around May

  2020, in the Eastern District of Texas and elsewhere, defendant Samuel Mor an Yates

  devised a scheme to defraud Lender 1, Lender 2, and the SB A by filing false and fraudulent

  applications for PPP funds.

                                   Purpose of the Scheme to Defraud

          14. The purpose of the scheme was for defendant Samuel Morgan Yates to

  unjustly enrich himself by obtaining PPP loan proceeds under false and misleading

 pretenses, including by making false statements about the operations of Lone Star Tuning

  and the intended use of the loan proceeds.

                                            Manner and Means


          15. In furtherance of the scheme, on or about April 14, 2020, defendant Samuel

 Morgan Yates electronically submitted a false and misleading PPP application to Lender

  1 in the name of Lone Star Tuning seeking approximately $5,203,400 in PPP funds (the

  Lender 1 PPP Application ). The Lender 1 PPP Application falsely stated that Lone Star

 Tuning s average monthly payroll was $2,081,386 and that the company had 412

 employees. Samuel Morgan Yates signed the Lender 1 PPP Application. Samuel


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  Mor an Yates also certified that the application and the information provided in all

  supporting documents and forms was true and accurate.

                  a. In connection with Lender 1 PPP Application, defendant Samuel

                           Mor an Yates submitted what purported to be an Employer s

                           Quarterly Federal Tax Return ( IRS Form 941 ) for Lone Star Tuning

                           for the first quarter of 2020. On the purported IRS Form 941, Samuel

                           Morgan Yates falsely claimed that Lone Star Tuning had paid wages,

                           tips, and other compensation of $6,538,954.20 to 412 employees.

                  b. Defendant Samuel Morgan Yates also submitted with the Lender 1

                           PPP Application a false and misleading payroll journal that purported

                           to list payroll and tax payments for each of the business’s claimed 412

                           employees, the names of whom also appeared in a list of 500 random

                           names found in the source code of a program posted on a popular

                           online source code hosting and software collaboration platform.

                  c. In addition, defendant Samuel Morgan Yates submitted with the

                           Lender 1 PPP Application a false and misleading payroll report for

                           Lone Start Tuning that purported to show total payroll expenses of

                           $4,893,261.80 between January 1, 2020 and February 29, 2020.

          16. In furtherance of the scheme, on or about May 5, 2020, defendant Samuel


  Morgan Yates, electronically submitted a false and misleading PPP application to

  Company 1 in the name of Lone Star Tuning seeking approximately $533,216 in PPP funds

  (the Lender 2 PPP Application ). The Lender 2 PPP Application falsely stated that Lone


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  Star Tuning s average monthly payroll was $722,788.44 and that the company had 145

  employees. Defendant Samuel Morgan Yates signed the Lender 2 PPP Application.

  Defendant Samuel Morgan Yates also certified that the application and the information

  provided in all supporting documents and forms was true and accurate.


                  a. In connection with Lender 2 PPP Application, defendant Samuel

                          Morgan Yates submitted what purported to be an IRS Form 941 for

                          Lone Star Tuning for the first quarter of 2020. On the purported IRS

                          Form 941, Samuel Morgan Yates falsely claimed that Lone Star

                          Tuning had paid wages, tips, and other compensation of $2,555,438

                          to 145 employees.

                  b. Defendant Samuel Morgan Yates also submitted with the Lender 2

                          PPP Application a false and misleading list of employees that

                          included the many of the same names appearing in a list of 500

                          random names found in the source code of a program posted on a


                          popular online source code hosting and software collaboration

                          platform.

         17. Defendant Samuel Morgan Yates s scheme caused intended losses of at

  least $5.7 million, based on the PPP loan applications submitted to Lenders 1 and 2.




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                                           Counts One and Two
                                                    Violation: 18U.S.C. § 1343
                                                    (Wire Fraud)

          18. Paragraphs 1 through 17 of this Indictment are realleged and incorporated by

  reference as though fully set forth herein.

          19. Beginning in or around April 2020, and continuing until in or around May

  2020, in Jefferson County, Texas, within the Eastern District of Texas, and elsewhere,

  defendant Samuel Mor an Yates, on or about the dates specified below, did knowingly,

  willfully, and with the intent to defraud, having devised and intending to devise a scheme

  and artifice to defraud, and to obtain money and property by means of materially false and

  fraudulent pretenses, representations, and promises, knowing such pretenses,

  representations, and promises were false and fraudulent when made, transmit and cause to


  be transmitted, by means of wire communications in interstate commerce, writings, signals,


  pictures, and sounds, for the purpose of executing such scheme and artifice.

                          Execution of the Scheme and Artifice to Defraud

          20. On or about the date specified below, defendant Samuel Morgan Yates, in

  the Easte District of Texas and elsewhere, for the purpose of executing the aforesaid

  scheme and artifice to defraud, and attempting to do so, did knowingly transmit and cause

  to be transmitted, by means of wire, radio, and television communication, writings, signals,

  pictures, and sounds in interstate and foreign commerce for the purposes of executing such


  scheme and artifice, as set forth below:




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   Count       Approximate Date                      Description of Interstate Wire

                                          The PPP loan application on behalf of Lonestar Tuning
                                          electronically submitted from Texas, and routed
       1          April 14, 2020
                                          interstate through Company l s servers outside of
                                          Texas.
                                          Wire transfer from Lender 2 in the amount of $533,216
       2          May 15,2020             to an account controlled by Samuel Mor an Yates at
                                          Credit Union 1.

           All in violation of 18 U.S.C. § 1343.




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               NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
                  18 U.S.C. §§ 981(a)(1), 982(a)(2), and 28 U.S.C. § 2461

         As a result of committing the offenses as alleged in this Indictment, defendant shall

  forfeit to the United States pursuant to 18 U.S.C. §§ 981(a)(1) and 982(a)(2) and 28 U.S.C.

  § 2461 any and all property, real or personal, involved in or traceable to property involved

  in the offense, including proceeds obtained directly or indirectly from the offense, and the

  following:

         Personal Property


         $504,715.40 in United States currency seized from Account No. xx6734 at Red
         River Employees Federal Credit Union.

         Cash Proceeds


         A sum of money equal to $28,500.60 in United States currency, and all interest and
         proceeds traceable thereto, representing the amount of cash proceeds obtained by
         defendant as a result of the offense alleged in this Indictment, for which the
         defendant is personally liable.

         Substitute Assets

         If any property subject to forfeiture, as a result of any act or omission by defendant:

         (a) cannot be located upon the exercise of due diligence;
         (b) has been transferred or sold to, or deposited with a third party;
         (c) has been placed beyond the jurisdiction of the court;
         (d) has been substantially diminished in value; or
         (e) has been commingled with other property which cannot be subdivided
                without difficulty,

 it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek forfeiture of any

 other property of defendant up to the value of the above forfeitable property, including but

 not limited to all property, both real and personal, owned by defendant.




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          By virtue of the commission of the felony offenses charged in this Indictment, any

  and all interest defendant has in the above-described property is vested in the United States

  and hereby forfeited to the United States pursuant to 18 U.S.C. § 981(a)(1) and 982(a)(2)

  and 28 U.S.C. § 2461.

                                                    A TRUE BILL



                                                    GRAND JURY FOREPERSON


  STEPHEN J. COX                                    DANIEL S. KAHN
  UNITED STATES ATTORNEY                            ACTING CHIEF
                                                    FRAUD SECTION
                                                    CRIMINAL DIVISION
                                                    DEPARTMENT OF JUSTICE

  L. FRANK COAN, JR.                                L. RUSH ATKINSON
  Criminal Chief                                    Assistant Chief

                                                    LOUIS MANZO
                                                    Trial Attorney




                                                   Date
  Assistant United States Attorney




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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION

  UNITED STATES OF AMERICA §
                                                     §
  v.                                  §                           No. 5:21-CR-
                                                     §          JUDGE SCHROEDER
  SAMUEL MORGAN YATES §

                                        NOTICE OF PENALTY

                                          Counts One and Two


  VIOLATION: 18 U.S.C. § 1343 (Wire Fraud)

  PENALTY: Imprisonment for not more than twenty years; a fine
                       not to exceed $250,000; a term of supervised release of
                                           not more than three years.


  SPECIAL ASSESSMENT: $100.00




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